Case 6:21-cv-00292-ADA Document 69-2 Filed 03/28/22 Page 1 of 3




                 Exhibit Z
3/28/22, 10:10 AM       Case 6:21-cv-00292-ADA       Document
                                           Court Information          69-2
                                                             | Northern          Filed
                                                                        District of Texas03/28/22
                                                                                         | United States Page      2 of 3
                                                                                                         District Court

  Skip to main content
     Directory
     Email Us


  Court Information
  You are here
  Home

  The Northern District of Texas is made up of 100 of the 254 counties in Texas. Nine of the cities in the Northern
  District of Texas are in the list of the top twenty most populous cities in Texas--Dallas, Fort Worth, Arlington,
  Lubbock, Garland, Irving, Amarillo, Grand Prairie, and Mesquite. Geographically, the district encompasses
  more than 96,000 square miles, making it the largest land area district in the country, except for those federal
  districts that encompass an entire state. Many of the nation's Fortune 500 companies are either headquartered or
  have a major presence in the Dallas/Fort Worth Metroplex.

  You will find lists of the currently serving district and magistrate judges here. Lists of all district judges
  appointed in this district since 1879 and district judges who have served as chief judge since 1948 are available
  here.



                                                                        Court Information
                                                                        Judges
   Succession of Clerks of Court                                        Rules & Orders
  of the Northern District of Texas                                     Filing
                                                                        Resources
           1879 to Present                                              FAQs
                                                                        Attorneys
                                                                        Jurors
  Appointed: May 23, 1879                                               Pro Se
                                                 1879-1906              Forms & Records
  1. Finks, John Hollingsworth


  Appointed: May 6, 1906
                                                 1906-1906
  2. McBain, John


  Appointed: May 18, 1906
                                                 1906-1925
  3. Maynard, Louis C.


  Appointed: February 11, 1925
                                                 1925-1956
  4. Parker, George W.




https://www.txnd.uscourts.gov/court-info                                                                                    1/2
3/28/22, 10:10 AM       Case 6:21-cv-00292-ADA       Document
                                           Court Information          69-2
                                                             | Northern          Filed
                                                                        District of Texas03/28/22
                                                                                         | United States Page      3 of 3
                                                                                                         District Court



   Succession of Clerks of Court
  of the Northern District of Texas
           1879 to Present

  Appointed: November 1, 1956
                                                 1956-1965
  5. Lowther, John A.


  Appointed: February 11, 1965
                                                 1965-1967
  6. Hamilton, Ramelle


  Appointed: March 27, 1967
                                                 1967-1971
  7. Rankin, Bailey F.


  Appointed: January 20, 1971
                                                 1971-1983
  8. McElroy Jr., Joseph


  Appointed: January 22, 1983
                                                 1983-2000
  9. Doherty, Nancy Hall


  Appointed: June 16, 2000
                                                 2000-present
  10. Mitchell, Karen Sublett




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